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 Attorneys for Defendant
 SEVEN ELEVEN HAWAII, INC.

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  RANDAL CHUNFAT,                            CIVIL NO. CV21-00511 SOM-WRP

                       Plaintiff,            [PROPOSED] JUDGMENT

           vs.
                                             Trial:
  SEVEN ELEVEN HAWAII, INC.,                 Date: August 8, 2023
                                             Time: 9:00 a.m.
                       Defendant.            Judge: Hon. Susan O. Mollway


                              [PROPOSED] JUDGMENT

                 On March 1, 2023, Defendant Seven Eleven Hawaii, Inc.

 (“Defendant”) served an Offer of Judgment (“Offer”) on Plaintiff Randal Chunfat

 (“Plaintiff”). On March 8, 2023, Plaintiff filed a notice of acceptance of the Offer.

 See ECF No. [36]. There being no remaining claims or issues against any party to



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 resolve in this case, IT IS HEREBY, ORDERED, ADJUDGED AND DECREED

 as follows:

               1.    Judgment is entered in favor of Plaintiff and against

 Defendant in the amount of $30,000 (Thirty Thousand Dollars).

               2.    Defendant shall, promptly after entry of this Judgment, train

 its customer service employees on Title III of the Americans with Disabilities

 Act of 1990’s mandates relating to service animals.

               3.    This Judgment is entered without findings of fact or

 conclusions of law under Rule 68 for the salutary purposes of settlement, and

 by the terms of the Offer shall have no binding or precedential effect against

 Defendant under doctrines of res judicata, claim or issue preclusion, law of the

 case, collateral estoppel, stare decisis, or any other legal or equitable doctrine.

               4.    The issue of costs and fees, if any, to be awarded shall be

 addressed pursuant to Rule 54 and Local Rule 54.1, et seq.

 APPROVED AS TO FORM:

               DATED:       Honolulu, Hawaii, March 16, 2023.


                                         /s/ Lunsford Dole Phillips
                                         LUNSFORD DOLE PHILLIPS

                                         Attorney for Plaintiff
                                         RANDAL CHUNFAT




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             DATED:     Honolulu, Hawaii, March 16, 2023.


                                    /s/ Christopher J. Cole
                                    CHRISTOPHER J. COLE

                                    Attorney for Defendant
                                    SEVEN ELEVEN HAWAII, INC.




 SO ORDERED:




 Randal Chunfat v. Seven Eleven Hawaii, Inc.; Civil No. CV21-00511 SOM-WRP;
 [PROPOSED] JUDGMENT



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